






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00575-CV






Eric Erickson, Appellant


v.



Equity Secured Capital, L.P., Appellee





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 353RD JUDICIAL DISTRICT


NO. D-1-GN-07-001556, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N



	Eric Erickson, acting pro se, filed an appeal from a summary judgment granted in
favor of appellee Equity Secured Capital, L.P.  On July 21, 2008, this Court notified appellant that
his brief was overdue.  Appellant filed a motion seeking a 120-day extension of time to file his brief,
which was granted in part, extending the brief-filing deadline until September 22, 2008, and
specifying that no further requests for extension would be allowed or entertained.

	This Court notified appellant on October 15, 2008, that the brief was again
overdue&nbsp;and that this appeal was subject to dismissal for want of prosecution if he did not respond
by October 27, 2008, with a reasonable explanation for his failure to file the brief.  See Tex. R. App.
P. 38.8(a)(1).  The deadline has passed, and appellant has not responded to this Court's notice.

This appeal is dismissed for want of prosecution.  See Tex. R. App. P. 42.3(b), (c).



					__________________________________________

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Waldrop

Dismissed for Want of Prosecution

Filed:   December 30, 2008




							


